                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - FLINT

IN RE:

         SAMUEL W. CARPENTER,                                 Case No. 11-33006-dof
                                                              Chapter 7 Proceeding
            Debtor.                                           Hon. Daniel S. Opperman
_____________________________________/

                              OPINION DENYING
           TRUSTEE’S MOTION TO DISMISS BANKRUPTCY CASE NO. 11-33006

         On June 21, 2011, the Debtor, Samuel W. Carpenter, filed a petition seeking relief under

Chapter 7 of the Bankruptcy Code with the Bankruptcy Court for the Eastern District of Michigan,

Southern Division. In his petition, Mr. Carpenter listed his address as 3651 Evergreen Parkway,

Flint, Michigan. At his first meeting of creditors, Mr. Carpenter detailed that he lived in various

places 180 days prior to filing his petition. With this testimony, the Chapter 7 Trustee, Samuel

Sweet, filed a Motion to Dismiss because of improper venue. The Debtor filed a timely response

to the Trustee’s Motion to Dismiss.

         On September 21, 2011, the Court conducted a hearing regarding the Trustee’s Motion to

Dismiss. At this hearing, Mr. Carpenter appeared and detailed to the Court that he lived in Virginia,

but that his mother became ill in December of 2010, and that he moved to Flint to take care of his

mother. The Court requested that Mr. Carpenter file an Affidavit stating the dates that he moved

from Virginia to Flint, Michigan. The Affidavit of Mr. Carpenter, filed on October 4, 2011, is

consistent with his statements to the Court on September 21, 2011.

                                STATEMENT OF JURISDICTION

         This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and 28 U.S.C. §

157. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) as a matter concerning the

administration of the estate.



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                                    APPLICABLE STATUTE

28 U.S.C. § 1408 provides in pertinent part:

            Except as provided in section 1410 of this title, a case under title 11 may be
       commenced in the district court for the district - -

               (1) in which the domicile, residence, principal place of business in the United
       States, or principal assets in the United States, of the person or entity that is the
       subject of such case have been located for the one hundred and eighty days
       immediately preceding such commencement, or for a longer portion of such one
       hundred and eighty day period than the domicile, residence, or principal place of
       business, in the United States, or principal assets in the United States, of such person
       were located in any other district;

                                            ANALYSIS

       The Trustee appropriately filed a Motion to Dismiss because of his concerns regarding Mr.

Carpenter’s residence and whether the case should continue in the Eastern District of Michigan. Mr.

Carpenter’s statements to the Court, coupled with the Affidavit filed by Mr. Carpenter, however,

support the conclusion that Mr. Carpenter spent the requisite period of time in Michigan as required

by 28 U.S.C. § 1408. In particular, Mr. Carpenter spent time in Michigan caring for his mother and

moved to Flint, Michigan, effective March 15, 2011. His travel between Michigan and Virginia was

incidental to his residence that was established in Flint as early as March 15, 2011, if not earlier.

       For these reasons, the Court denies the Trustee’s Motion to Dismiss Bankruptcy Case No.

11-33006. The Court has entered an Order consistent with the Court’s Opinion.

cc:    Samuel Carpenter                           .



Signed on October 14, 2011
                                                          /s/ Daniel S. Opperman
                                                        Daniel S. Opperman
                                                        United States Bankruptcy Judge




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